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   7
   8                         UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    TIFFANY DEHEN, an                  Case No. 17-cv-00198-LAB-WVG
       individual on behalf of herself,
 12
                          Plaintiff,      REPLY BRIEF IN SUPPORT OF
 13                                       PERKINS COIE LLP’S
             v.                           MOTION TO DISMISS
 14
       JOHN DOES 1-100,
 15    TWITTER, INC.,
       UNIVERSITY OF SAN                  Judge: Hon. Larry Alan Burns
 16    DIEGO AND PERKINS COIE
       LLP,
 17
                          Defendants.
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   1                                 I.     INTRODUCTION
   2         When it granted Tiffany Dehen’s motion to file a second amended complaint
   3   (“SAC”), this Court imposed conditions, notifying Dehen in its order that “[i]t’s not
   4   good enough to allege conclusions, ‘reserve the right’ to make other claims, or to
   5   include extraneous material.” Dkt. 54 at 2. This Court also informed Dehen that she
   6   must comply with Federal Rule of Civil Procedure (“Rule”) 11, which requires “a
   7   nonfrivolous legal basis for her claims” and “facts to back them up.” Id. Dehen did
   8   not abide by the Court’s order. To the contrary, as explained in the memorandum
   9   supporting Perkins Coie LLP’s (“Perkins”) motion to dismiss (Dkt. 63-1), Dehen’s
 10    prolix and often impenetrable SAC fails to plead the elements of Dehen’s claims or
 11    provide “facts to back them up.” And—in direct contravention of this Court’s
 12    order—the SAC “reserve[s] the right” to bring a laundry list of future claims
 13    against Perkins. It thus obscures rather than explains Dehen’s claims against
 14    Perkins, violating the notice requirement of Rule 8.
 15          Dehen’s opposition to Perkins’s motion to dismiss takes the same misguided
 16    approach. See Dkt. 65 (“Opposition” or “Opp.”).1 It devotes many pages to
 17    irrelevant issues, including allegations of impropriety against other parties to this
 18    case and several nonparties; it ignores the numerous legal deficiencies in Dehen’s
 19    claims that Perkins identified in its motion to dismiss; it makes sensational
 20    allegations (including allegations that do not appear in the SAC) based on no
 21    alleged facts whatsoever; and it purports to “reserve” additional claims that have
 22    never been pled and have no basis in reality in any case.
 23    1
         In connection with her Opposition, Dehen filed a “Notice of Motion and Motion
 24    to File Supplement[al] Declaration to Plaintiff’s Reply to Defendants’ Motions to
       Dismiss.” Dkt. 66. The Court denied the motion because Dehen “[had not] asked
 25    for leave to file a surreply, nor explained why one [was] necessary.” Id. Soon
       thereafter, Dehen again sought leave to file a surreply. See Dkt. 67. Perkins,
 26    Twitter, and the University of San Diego opposed that motion. See Dkts. 68, 69, 70.
 27    Even if this Court grants that motion, Dehen’s proposed surreply does not and
       cannot cure the deficiencies in Dehen’s SAC and therefore cannot save Dehen’s
 28    claims from dismissal.
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   1         Equally important, Dehen’s Opposition makes abundantly clear that Dehen
   2   named Perkins as a defendant in this case not because Perkins engaged in any
   3   arguably unlawful conduct, but rather because Perkins has petitioned this Court in
   4   its capacity as Twitter’s legal counsel. Dehen’s claims against Perkins are therefore
   5   barred under the Noerr-Pennington doctrine, which provides that “those who
   6   petition any department of the government for redress are immune from statutory
   7   liability for their petitioning conduct.” Theme Promotions, Inc. v. News Am. Mktg.
   8   FSI, 546 F.3d 991, 1006 (9th Cir. 2008).
   9         In short, Dehen’s Opposition does nothing to rebut Perkins’s motion to
 10    dismiss. To the contrary, it confirms that her outlandish claims against Perkins are
 11    baseless and should be dismissed without leave to amend.
 12                                     II.    ARGUMENT
 13    A.    The Claims Against Perkins Should Be Dismissed Under Rule 8
 14          In its motion to dismiss, Perkins explained that Dehen’s SAC violates Rule
 15    8’s notice requirement because, among other things, the SAC fails to identify any
 16    connection between Perkins and the events underlying Dehen’s claims; makes
 17    elliptical references to matters that are wholly irrelevant to this case; alludes to
 18    several claims that are not expressly pled; and fails to specify which of Dehen’s
 19    many claims are directed against Perkins. See Dkt. 63-1 at 6-7.
 20          In response, Dehen asserts that the SAC “satisfies Rule 8’s basic notice
 21    requirement.” Opp. at 9 (capitalizations altered). Tellingly, however, her
 22    Opposition does not explain how the SAC satisfies Rule 8 nor where in the SAC’s
 23    69 rambling pages she alleges facts sufficient to state plausible claims against
 24    Perkins. Instead, the Opposition levels accusations against the other defendants in
 25    this case (including the accusation that Twitter engages in “shadow banning”);
 26    recites a litany of grievances against various nonparties (including the San Diego
 27    Police Department and one of Dehen’s law school classmates); refers repeatedly to
 28    irrelevant events and issues (including unrelated lawsuits involving clients of
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   1   Perkins); and hints darkly at an undefined conspiracy between Perkins, Twitter,
   2   Facebook, the Clinton Campaign, the Obama Campaign, Barack Obama, the
   3   Democratic National Committee, Google, the Clinton Foundation, George Soros,
   4   and possibly others. See, e.g., id. at 1-11. Dehen also attaches nine more puzzling
   5   exhibits to her Opposition, bringing the total number of exhibits (counting those
   6   filed in connection with Twitter’s and the University of San Diego’s motions to
   7   dismiss) to 161.2 In short, the Opposition further obscures the nature of Dehen’s
   8   grievances against Perkins.
   9         “[A] district court may dismiss a complaint for failure to comply with Rule 8
 10    where it fails to provide the defendants fair notice of the wrongs they have
 11    allegedly committed.” Harris-Scott v. Obama, No. CV 09-2641 ODW (SSx), 2009
 12    WL 10675180, at *4 (C.D. Cal. July 17, 2009). That is precisely the case here: The
 13    SAC is so devoid of factual allegations, confusing, disjointed, and
 14    incomprehensible that it fails to put Perkins on notice of the nature of any
 15    cognizable claims. The Opposition exacerbates rather than cures that problem.
 16    Dehen’s claims against Perkins should therefore be dismissed under Rule 8. See,
 17    e.g., Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1059 (9th
 18    Cir. 2011) (“Rule 8(a) has ‘been held to be violated by a pleading that was
 19    needlessly long, or a complaint that was highly repetitious, or confused, or
 20    consisted of incomprehensible rambling.’”) (citation omitted); McKinney v.
 21    Martinez, No. 3:16-CV-000448-MMD-VPC, 2016 WL 8504499, at *2 (D. Nev.
 22    Nov. 21, 2016) (Plaintiff’s “complaint is rambling, nonsensical, filled with legal
 23    jargon, and with vague references to state and federal laws. Dismissal on those
 24    grounds alone is appropriate.”), report and recommendation adopted, 2017 WL
 25    1023340 (D. Nev. Mar. 16, 2017), aff’d, 700 F. App’x 729 (9th Cir. 2017).
 26
 27    2
        Consideration of those exhibits is, of course, improper on a motion testing the
 28    sufficiency of allegations in the complaint.
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   1   B.    The Claims Against Perkins Should Be Dismissed under Rule 12
   2         1.     The Opposition concedes that Dehen’s claims for extortion and
                    conspiracy to commit extortion are meritless
   3
             Of the SAC’s seventeen causes of action, the only one expressly directed
   4
       against Perkins is the sixteenth. See Dkt. 55 at 66-67. There, Dehen alleges
   5
       “violations of 18 U.S.C. § 875(d) and 18 U.S.C. § 1951 against Perkins Coie[] LLP
   6
       including actual extortion as defined under 18 U.S.C. § 1951(b).” Id. ¶ 329.
   7
             In its motion to dismiss, Perkins explained that those statutes do not include a
   8
       private cause of action. See Dkt. 63-1 at 7-9. Perkins also showed that Dehen has
   9
       not alleged and could not allege any facts linking Perkins to the two incidents
 10
       underlying her extortion claims—a car accident and unwanted attention from an
 11
       unnamed woman at a courthouse. See id. at 9-10. Further, Perkins explained that the
 12
       SAC fails even to assert, much less plead factual allegations supporting, key
 13
       elements required for prosecution under either law. See id. at 9-11.
 14
             The Opposition does not respond to those dispositive legal arguments and
 15
       therefore concedes them. See Hopkins v. Women’s Div. Gen. Bd. of Glob.
 16
       Ministries, 238 F. Supp. 2d 174, 178 (D.D.C. 2002) (“[W]hen a plaintiff files an
 17
       opposition to a motion to dismiss addressing only certain arguments raised by the
 18
       defendant, a court may treat those arguments that the plaintiff failed to address as
 19
       conceded.”). It follows that Dehen’s extortion claims against Perkins should be
 20
       dismissed. See, e.g., Quick Korner Mkt. v. U.S. Dep’t of Agric., Food & Nutrition
 21
       Serv., 180 F. Supp. 3d 683, 696 n.12 (S.D. Cal. 2016) (“Where a plaintiff declines
 22
       to defend a claim in opposition, the Court is within its discretion to treat plaintiff’s
 23
       silence as abandonment of the claim and concession that the claim be dismissed.”).3
 24
       3
 25     Dehen does not argue (nor could she) that a private party may bring a private right
       of action under 18 U.S.C. § 875(d) or 18 U.S.C. § 1951, as she seeks to do here.
 26    She does argue that a private party may sue under the Racketeer Influenced and
       Corrupt Organizations Act (“RICO”). See Opp. at 10-11. Perkins has never
 27    disputed that point, which is irrelevant because no such claim has been or could
 28    have been brought against Perkins.
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   1         2.     Dehen’s “reserved” claims are not actually pled and are meritless
   2         When it allowed her to file the SAC, this Court warned Dehen that she could
   3   not avoid dismissal by “‘reserv[ing] the right’ to make other claims” in her SAC.
   4   Dkt. 54 at 2. Yet Dehen did just that. In her Opposition, Dehen does not dispute that
   5   the claims she “reserves the right” to plead—obstruction of justice, treason,
   6   contempt, civil conspiracy, and violations of RICO, the Sherman Act, and the First
   7   Amendment—are not actually pled. See Dkt. 63-1 at 12-16. Nor does she dispute
   8   that her “reserved” claims “fail because she cannot allege facts to support them.” Id.
   9   at 12. Thus, there is no need for this Court to consider Dehen’s inchoate claims.
 10          In any case, Dehen’s “reserved” claims fail on their own terms. Dehen
 11    concedes (by failing to dispute) that she (i) cannot sue Perkins for obstruction of
 12    justice or treason because those crimes cannot be prosecuted by a private party, see
 13    id. at 12-14; (ii) cannot bring an action for contempt because she cannot point to
 14    any order of this Court that Perkins has violated, see id. at 14; (iii) has failed to
 15    allege any facts supporting any element of a cause of action under the Sherman Act,
 16    see id. at 15-16; and (iv) cannot bring a claim for civil conspiracy because she fails
 17    to plead any underlying tort, see id. at 16.
 18          With respect to her “reserved” First Amendment claim, Dehen appears to
 19    argue that Perkins’s reliance on the federal Communications Decency Act (“CDA”)
 20    in its defense of Twitter satisfies the “state action” element necessary to support
 21    such a claim:
 22          Rather than solely being Twitter’s legal representation, Perkins Coie is
 23          Twitter’s accomplice in defending illegal behavior which is actually resulting
             in substantial injury to Plaintiff. Perkins asserted the CDA as a defense for
 24          Twitter even though Perkins knows of Twitter’s illegal scheme since Perkins
 25          also represents Facebook, the Clinton Campaign, the Obama Campaign, the
             Democratic National Committee, and Google, to name a few. As Plaintiff
 26          explained in her SAC, when social media companies such as Twitter censor
 27          viewpoints they dislike and choose which users to abide by their contractual
             obligations with, they are actually engaging in a violation of the First
 28
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   1         Amendment of the United States of America since there is a government
   2         action through the enactment of the CDA § 230 and then content and
             viewpoint discrimination by Twitter, receiving the benefits of the
   3         government action.
   4   Opp. at 5-6. But Perkins’s invocation of a federal statute does not transform it from
   5   a private law firm into an arm of the government. Dehen’s First Amendment claim
   6   is therefore frivolous.
   7         Dehen also tries to defend her “reserved” RICO claim by arguing that
   8
             the defendants formed an association in fact because they worked in concert
   9         to achieve market efficiencies toward their common aim of violating federal
             law[s] such as the CDA § 230 and RICO statute as well as fraudulently
 10
             misrepresenting to Plaintiff, the public, and investors. Defendants also shared
 11          a common goal of illegally extorting Ms. Dehen to stop her lawsuit through
             legal intimidation, physical intimidation, and threats.
 12
       Id. at 12. Dehen thus belatedly attempts to identify the defendants named in her suit
 13
       as the purported RICO “enterprise.” See Dkt. 63-1 at 14-15. But the SAC fails to
 14
       assert a RICO claim against Perkins or allege facts that would support it, and Dehen
 15
       cannot cure this failure by making new allegations in her Opposition that are not
 16
       alleged in the SAC. See, e.g., Schneider v. Cal. Dep’t of Corr., 151 F.3d 1194, 1197
 17
       n.1 (9th Cir. 1998) (explaining that “‘new’ allegations contained in [an] opposition
 18
       motion . . . are irrelevant for Rule 12(b)(6) purposes”). In any event, there are no
 19
       facts that would support such a claim.
 20
 21    C.    The New Material in the Opposition Does Not Salvage Dehen’s Claims
             Dehen’s Opposition also includes wholly new accusations against Perkins
 22
       that were not even “reserved” (much less alleged) in her SAC. For example, the
 23
       Opposition repeatedly alludes, without detail, to a purported “fraud” perpetrated by
 24
       Perkins. See, e.g., Opp. at 4 (“injuries sustained from Plaintiff’s discovery of
 25
       Perkins Coie’s pattern of illegal conduct including, but not limited to, fraudulent
 26
       misrepresentation”); id. (“Perkins’[s] fraud and illegal conduct”); id. at 10
 27
       (“fraudulent . . . actions of . . . Perkins”); id. (accusing Perkins of “fraudulent
 28
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   1   misrepresentation”); id. at 12 (accusing “defendants” of “fraudulently
   2   misrepresenting to Plaintiff”). But the SAC does not allege a fraud claim against
   3   Perkins, and Dehen cannot amend the SAC through her Opposition. See, e.g.,
   4   Schneider, 151 F.3d at 1197 n.1. This Court should therefore ignore the
   5   Opposition’s unsupported insinuations of “fraud” not made in the SAC.
   6         Nor do Dehen’s allegations, such as they are, state a claim for fraud. “To
   7   plead a fraud claim, a party must allege (1) a knowingly false representation or
   8   fraudulent omission by the defendant; (2) an intent to deceive or induce reliance;
   9   (3) justifiable reliance by the plaintiff; and (4) resulting damages.” UMG
 10    Recordings, Inc. v. Glob. Eagle Entm’t, Inc., 117 F. Supp. 3d 1092, 1109 (C.D. Cal.
 11    2015). “Claims for fraud . . . must meet the heightened pleading requirements of
 12    Rule 9(b).” Id. at 1106. “Under Rule 9(b), fraud allegations must include the time,
 13    place, and specific content of the false representations as well as the identities of the
 14    parties to the misrepresentations.” Id. (internal quotation marks and citation
 15    omitted). “For corporate defendants, a plaintiff must allege the names of the
 16    persons who made the allegedly fraudulent representations, their authority to speak,
 17    to whom they spoke, what they said or wrote, and when it was said or written.”
 18    Flowers v. Wells Fargo Bank, N.A., No. C 11-1315 PJH, 2011 WL 2748650, at *6
 19    (N.D. Cal. July 13, 2011) (internal quotation marks and citation omitted). Dehen’s
 20    SAC (and her Opposition for that matter) includes none of these facts. Accordingly,
 21    any fraud claim she purports to bring is wholly without merit.
 22    D.    Dehen’s Claims Are Barred by the Noerr-Pennington Doctrine
 23          The Opposition reveals an additional fatal flaw in Dehen’s claims by making
 24    clear that Dehen named Perkins as a defendant not because Perkins allegedly
 25    engaged in any unlawful conduct but rather because Perkins serves as Twitter’s
 26    legal counsel. The Opposition contains virtually nothing about the two events that
 27    purportedly give rise to Dehen’s claims against Perkins—that is, a car collision and
 28    a chance encounter with an unnamed woman at a courthouse. The Opposition does,
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   1   however, repeatedly fault Perkins for representing Twitter and suggest that Dehen
   2   is entitled to relief on that ground. For example, the Opposition argues that this
   3   Court should not dismiss Dehen’s claims against Perkins in part because Perkins
   4   “asserted the CDA as a defense for Twitter,” thereby “defending illegal behavior.”
   5   Opp. at 5. The Opposition also accuses Perkins of “attempt[ing] to intimidate Ms.
   6   Dehen out of having her day in court using procedural tactics”—referring, it seems,
   7   to the motions to dismiss that Perkins has filed on behalf of Twitter. Id. at 8.
   8   Relatedly, the Opposition accuses Perkins of “illegally extorting Ms. Dehen to stop
   9   her lawsuit through,” among other things, “legal intimidation,” which would appear
 10    to be Perkins’s defense of Dehen’s claims. Id. at 12. It also refers to “illegal
 11    behavior between Perkins Coie and various clients of Perkins Coie,” but the only
 12    “behavior” at issue seems to be Perkins’s legal representation of those clients. Id.4
 13          Under the Noerr-Pennington doctrine, Perkins is immune from liability for
 14    petitioning the Court on Twitter’s behalf. “The essence of the Noerr-Pennington
 15    doctrine is that those who petition any department of the government for redress are
 16    immune from statutory liability for their petitioning conduct.” Theme Promotions,
 17    546 F.3d at 1006. Petitioning conduct includes defending a client in litigation. See
 18    Sosa v. DIRECTV, Inc., 437 F.3d 923, 933 (9th Cir. 2006) (“Such communications
 19    include . . . assorted documents and pleadings . . . in which plaintiffs or defendants
 20    make representations and present arguments to support their request that the court
 21    do or not do something.”) (internal quotation marks and citation omitted). “Noerr-
 22    Pennington immunity . . . appl[ies] to defensive pleadings, because asking a court
 23    to deny one’s opponent’s petition is also a form of petition . . . .” Freeman v. Lasky,
 24    Haas & Cohler, 410 F.3d 1180, 1184 (9th Cir. 2005) (citation omitted).
 25
       4
        Dehen’s proposed surreply, which Perkins and the other defendants have opposed,
 26    also appears to fault Perkins for representing its clients in litigation. See Dkt. 67 at
       11-12 (criticizing Perkins for its representation of Twitter in unrelated cases); id. at
 27    15 (accusing Perkins of “aid[ing] and abet[ting] Twitter’s illegal conduct to line its
 28    pockets with high litigation expenses”).
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   1         Perkins is therefore immune from both statutory and tort liability for
   2   invoking the CDA and making other arguments on Twitter’s behalf. See Theme
   3   Promotions, 546 F.3d at 1007 (holding that the Noerr-Pennington doctrine applies
   4   to state law tort claims). And because Dehen’s claims are rooted in Perkins’s
   5   petitioning conduct, they should be dismissed for that reason as well. See, e.g.,
   6   Mir v. Greines, Martin, Stein & Richland, 676 F. App’x 699, 700-01 (9th Cir.
   7   2017) (the Noerr-Pennington doctrine immunized defendant law firm from liability
   8   in suit brought by pro se plaintiff alleging RICO and state law claims in connection
   9   with the law firm’s representation of the pro se plaintiff); Patel v. DeCarolis,
  10   701 F. App’x 590, 592 (9th Cir. 2017) (defendant law firm was immune from
  11   liability under the Noerr-Pennington doctrine in suit by pro se plaintiff); Rupert v.
  12   Bond, 68 F. Supp. 3d 1142, 1159 (N.D. Cal. 2014) (any wrongdoing alleged by pro
  13   se plaintiff related to attorneys’ petitioning activity is “entitled to immunity under
  14   Noerr-Pennington”).
  15   E.    The Claims Against Perkins Should Be Dismissed With Prejudice
  16         This Court may deny leave to amend “due to . . . repeated failure to cure
  17   deficiencies by amendments previously allowed . . . and futility of amendment.”
  18   Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 1007 (9th Cir. 2009), as
  19   amended (Feb. 10, 2009) (internal quotation marks, citation, and alterations
  20   omitted). Despite this Court’s order, Dehen has repeatedly failed to cure the
  21   deficiencies in her pleadings and continues to make the same errors in her filings.
  22   Moreover, nothing in the Opposition suggests that Dehen could state any plausible
  23   claim against Perkins. Thus, prolonging this litigation would be both wasteful and
  24   futile. Dehen’s claims against Perkins should be dismissed with prejudice.
  25                                   III.   CONCLUSION
  26         For the reasons set forth in Perkins’s moving papers and the reasons above,
  27   Perkins respectfully requests that the Court dismiss this case with prejudice.
  28
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   1         DATED: July 24, 2018
                                            Respectfully submitted,
   2
   3                                        /s/ James G. Snell
                                            James G. Snell
   4
                                            Attorneys for Defendant
   5                                        Perkins Coie LLP
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   1                            CERTIFICATE OF SERVICE
   2         The undersigned hereby certifies that a true and correct copy of the foregoing
   3   document has been served on July 24, 2018 to all current and/or opposing counsel
   4   of record, if any to date, who are deemed to have consented to electronic service via
   5   the Court’s CM/ECF system per Local Rule 5.4(d). Plaintiff, who is pro se, will be
   6   served via overnight delivery at the following address:
   7
   8         Tiffany Dehen
   9         1804 Garnet Avenue #239
             San Diego, CA 92109
  10
  11
                                                           s/ James G. Snell
  12                                                       James G. Snell
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